                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          DOCKET NO. 3:12CR68-RJC-DSC

UNITED STATES OF AMERICA                      )
                                              )
                   v.                         )
                                              )               ORDER
JONATHAN D. DAVEY,                     )
JEFFREY M. TOFT,                       )
CHAD A. SLOAT,                         )
MICHAEL J. MURPHY,                     )
                                     )
                  Defendants.        )
_____________________________________)

       THIS MATTER is before the Court on the Defendants Jeffrey M. Toft (“Toft”), Chad A.

Sloat (“Sloat”) and Michael J. Murphy’s (“Murphy”) “Motion for Severance (Prejudicial Joinder),”

Doc. 66, filed August 23, 2012 and Government’s “Opposition to Defendants’ Motion to Sever,”

Doc. 67, filed August 28, 2012.

       Having fully considered the arguments, the record, and the applicable authority, the Court

finds that the Defendants’ “Motion for Severance (Prejudicial Joinder)” should be DENIED, as

discussed below.

       On February 22, 2012, Defendants were charged in a four count, twenty-four page Bill of

Indictment. All four Defendants are charged with securities fraud conspiracy, wire fraud conspiracy

and money laundering conspiracy. Defendant Davey is also charged with tax evasion. This matter

has a peremptory trial setting in December 2012.

       The Government alleges that Defendants operated a Ponzi scheme, referred to as the “Black

Diamond” scheme, that stole over $40,000,000 from over 400 victims. The originator of the

scheme, Keith Simmons, was convicted after a jury trial in December 2010 and sentenced to fifty


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years imprisonment. Six other conspirators, Deanna Salazar, Bryan Coats, James Jordan, Stephen

Lacy, Jeff Muyres, and Roy Scarboro, pled guilty between December 2010 and October 2011.

       The Government alleges that Defendants Davey, Toft, Sloat, and Murphy each operated

their own so-called "hedge funds" for the Black Diamond scheme, along with Salazar, Coats, Jordan,

Lacy, Muyres, and Scarboro. Defendant Davey also served as the “Administrator” for Defendants

Toft, Sloat, Murphy, and others. As Administrator, Defendant Davey (1) held victim money for

Defendants Toft, Sloat, Murphy, (2) wired money at their direction, and (3) published bogus

monthly statements on his websites for the victims of Defendants Toft, Sloat, and Murphy.

Indictment at ¶9.

       The Government further alleges that the four Defendants made similar misrepresentations

to obtain funds from victims, promising that they had done due diligence on Black Diamond and that

they operated legitimate hedge funds. Id. at ¶¶19-26k. The Government also maintains that as

Black Diamond began to collapse, Defendants Davey, Toft, Sloat, and Murphy conspired with each

other and the other co-conspirators to start a derivative Ponzi scheme. In the new scheme,

Defendants Toft, Sloat, and Murphy would deposit new victim money into a Ponzi account

controlled by Defendant Davey, where it could be used to fund the personal lifestyles and projects

of Defendants Davey, Toft, Sloat, and Murphy, as well as to make Ponzi payments to other victims.

Id. at ¶¶27-31. The Government represents that its evidence will show how victim money was

diverted to each of Defendants Davey, Toft, Sloat, and Murphy, how they used it, and in some

cases, how this income was treated for tax purposes.

       Defendants Toft, Sloat, and Murphy filed the instant Motion requesting the Court sever their

trial from that of Defendant Davey on the grounds of improper and prejudicial joinder pursuant to

Rules 8 and 14 of the Federal Rules of Criminal Procedure.

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        Federal Rule of Criminal Procedure 8(b) provides:

        The indictment or information may charge 2 or more defendants if they are alleged
        to have participated in the same act or transaction, or in the same series of acts or
        transactions, constituting an offense or offenses. The defendants may be charged in
        one or more counts together or separately. All defendants need not be charged in
        each count.

Thus, "[t]he test for joinder under Rule 8(b) is whether the defendants ‘are alleged to have

participated in the same act or transaction or in the same series of acts or transactions.'" United

States v. Santoni, 585 F.2d 667, 673 (4th Cir. 1978) (quoting Fed. R. Crim. P. 8(b)). In those

instances "[w]here the defendants' acts are part of a series of acts or transactions, it is not necessary

that each defendant be charged in each count, nor to show that each defendant participated in every

act or transaction in the series." Id. In this case, Defendants are all charged with participating in

the same conspiracy. Therefore, the Court finds that joinder is proper.

        Federal Rule of Criminal Procedure 14(a) provides:

        If the joinder of offenses or defendants in an indictment, an information, or a
        consolidation for trial appears to prejudice a defendant or the government, the court
        may order separate trials of counts, sever the defendants’ trials, or provide any other
        relief that justice requires.

        “In deciding whether to grant a Rule 14 motion, the district court is given broad discretion

in weighing the inconvenience and expense to the government and witnesses in conducting separate

trials against the prejudice to the defendants caused by a joint trial.” United States v. Smith, 44 F.3d

1259, 1266-7 (4th Cir. 1995). “The district court’s decision to grant or deny a motion for severance

will be overturned only for a clear abuse of discretion. Such an abuse of discretion will be found

only where the trial court's decision to deny a severance deprives the defendants of a fair trial and

results in a miscarriage of justice.” United States v. Rusher, 966 F.2d 868, 878 (4th Cir. 1992)

(quotation omitted). It is the defendants burden to show “that a joint trial would be so unfairly


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prejudicial that a miscarriage of justice would result.” United States v. Williams, 10 F.3d 1070,

1079-80 (4th Cir. 1993).

        The Supreme Court has made clear that “[t]here is a preference in the federal system for joint

trials of defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537 (1993).

There are several reasons for this preference. Joint trials “serve the interests of justice by avoiding

the scandal and inequity of inconsistent verdicts.” Id. Joint trials also promote “economy and

efficiency” and allow the Court and litigants to “avoid a multiplicity of trials.” Id. at 540. The

Fourth Circuit recently reiterated, “[w]e adhere to the general principle that when defendants are

indicted together, they should be tried together.” United States v. Dinkins, 2012 WL 3292417, _

F.3d _ (4th Cir. Aug. 14, 2012).

        The preference for joint trials is particularly strong in conspiracy cases. “[J]oinder is highly

favored in conspiracy cases, over and above the general disposition [supporting] joinder for reasons

of efficiency and judicial economy.” Id. (quoting United States v. Tedder, 801 F.2d 1437, 1450 (4th

Cir. 1986)) (alterations in original). As the Fourth Circuit recognized, “[t]he gravamen of

conspiracy is that each conspirator is fully liable for the acts of all co-conspirators in furtherance of

the conspiracy.” Tedder, 801 F.2d at 1450.

        Defendants allege possible prejudice “as a result of potential guilt transference or the ‘spill

over’ effect arising from the volume and character of evidence admitted against Defendant Davey”,

“jury confusion of the relevant issues” and the possible “need to assert defenses which are

inconsistent or antagonistic to the defense raised by Defendant Davey.” These very generalized and

speculative allegations do not meet the burden of showing that a miscarriage of justice would result

from a joint trial. Doc. 66 at 3-4. The Fourth Circuit has held that “[s]peculative allegations as to

possible prejudice do not meet the burden of showing an abuse of discretion in denying a motion

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for severance.” United States v. Becker, 585 F.2d 703, 707 (4th Cir. 1978).

       For the foregoing reasons, Defendants’“Motion for Severance (Prejudicial Joinder) is

DENIED.

       The Clerk is directed to send copies of this Order to counsel for the parties; and to the

Honorable Robert J. Conrad, Jr.

       SO ORDERED.                              Signed: August 29, 2012




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